                      Case 3:21-md-02981-JD Document 888-41 Filed 12/21/23 Page 1 of 1

    Chat Filters 12 History


    I                                                                Messages                                         Attachments
               Participant/Sender
                                                                                                                                                                   A
                                                                     1                                                0



   PARTICIPANTS List:                             Jay Kim;


                                                                                                                                        8/5/2013 3:58:47 PM(LITC

        Someone on our side was just able to fully download Fortnite on Note 8 with no unknown sources. We really need to understand what's going on (and I think DJ
        should, too). Very concerned. Also surprised that it's on Note 8 given what you said about Note 9 and Tab S4 only.




                                                                                                                                     EXHIBIT 8564
HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                               GOOG-PLAY-009216475
                                                                                                                                              EXHIBIT 8564-001
